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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,            )    CR. NO. 10-00880 HG-01
                                     )
                  Plaintiff,         )
                                     )
            vs.                      )
                                     )
VERNON JARRETT BUTLER,               )
                                     )
                  Defendant.         )
                                     )
                                     )

   ORDER DENYING DEFENDANT’S EMERGENCY MOTION TO REDUCE SENTENCE
  UNDER THE FIRST STEP ACT (COMPASSIONATE RELEASE) (ECF No. 124)


      Defendant is currently incarcerated at the Federal

Correctional Institute Terminal Island in California with a

projected release date of May 19, 2024.

      Defendant has filed a Motion seeking immediate release

pursuant to the First Step Act, 18 U.S.C. § 3582(c)(1)(A).

Defendant seeks release due to the COVID-19 pandemic.

      The Court elects to decide the matter without a hearing

pursuant to District of Hawaii Local Rule 7.1(c).

      Defendant’s EMERGENCY MOTION TO REDUCE SENTENCE UNDER THE

FIRST STEP ACT (COMPASSIONATE RELEASE) (ECF No. 124) is DENIED.


                            STANDARD OF REVIEW


      A judgment of conviction that includes a sentence of

imprisonment constitutes a final judgment and may not be modified

by a district court except in limited circumstances.             Dillon v.

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United States, 560 U.S. 817, 824-25 (2010).

      On December 21, 2018, Congress passed the First Step Act of

2018.    PL 115-391, December 21, 2018, 132 Stat. 5194.          The First

Step Act amended 18 U.S.C. § 3582(c), the statute governing the

limited circumstances under which the trial court may evaluate a

motion for reduction of sentence.

      The First Step Act altered the statute in Section

3582(c)(1)(A) to allow a defendant to request the trial court

reduce his sentence through a motion for compassionate release,

but the statute requires the defendant to first present his

request for release to the Bureau of Prisons.           18 U.S.C. §

3582(c)(1)(A).

      18 U.S.C. § 3582(c)(1)(A), as amended by the First Step Act

of 2018, provides, in pertinent part:

      [T]he court, upon motion of the Director of the Bureau
      of Prisons, or upon motion of the defendant after the
      defendant has fully exhausted all administrative rights
      to appeal a failure of the Bureau of Prisons to bring a
      motion on the defendant’s behalf or the lapse of 30
      days from the receipt of such a request by the warden
      of the defendant’s facility, whichever is earlier, may
      reduce the term of imprisonment...after considering the
      factors set forth in section 3553(a) to the extent that
      they are applicable, if it finds that—

            (i)   extraordinary and compelling reasons warrant
                  such a reduction;
      ...
                  and that such a reduction is consistent with
                  applicable policy statements issued by the
                  Sentencing Commission.

      18 U.S.C. § 3582(c)(1)(A).




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       SECTION 3582(c)(1)(A) AS AMENDED BY THE FIRST STEP ACT

      A.    Mandatory Procedural Requirement


      The statute allows the Court to consider a defendant’s

request for compassionate release only after the defendant has

first presented his request to the Bureau of Prisons (“BOP”).              18

U.S.C. § 3582(c)(1)(A); United States v. Raia, 954 F.3d 594, 597

(3d Cir. 2020).

      The Parties agree that Defendant has complied with the

procedural requirement of 18 U.S.C. § 3582(c)(1)(A) and that the

Court may consider the motion for compassionate release.


      B.    Merits Of Defendant’s Request For Compassionate Release


      If a defendant has complied with the mandatory procedural

requirement set forth in 18 U.S.C. § 3582(c)(1)(A), the District

Court may reduce a term of imprisonment, including the grant of

compassionate release, upon finding “extraordinary and compelling

reasons” consistent with applicable policy statements of the

Sentencing Commission.

      The Sentencing Commission’s policy statement is provided in

United States Sentencing Guidelines § 1B1.13:

      [T]he court may reduce a term of imprisonment (and may
      impose a term of supervised release with or without
      conditions that does not exceed the unserved portion of
      the original term of imprisonment) if, after
      considering the factors set forth in 18 U.S.C. §
      3553(a), to the extent that they are applicable, the
      court determines that—

            (1)(A)      Extraordinary and compelling reasons

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                        warrant the reduction; or

                (B)     The defendant (i) is at least 70 years
                        old; and (ii) has served at least 30
                        years in prison pursuant to a sentence
                        imposed under 18 U.S.C. § 3559(c) for
                        the offense or offenses for which the
                        defendant is imprisoned;

            (2)         The defendant is not a danger to the
                        safety of any other person or to the
                        community, as provided in 18 U.S.C. §
                        3142(g); and

            (3)         The reduction is consistent with this
                        policy statement.

      U.S.S.G. § 1B1.13.

      If Defendant is not 70 years of age and was not sentenced

pursuant to 18 U.S.C. § 3559(c), Defendant is only entitled to

relief if he demonstrates:

      (1)   extraordinary and compelling reasons warrant a sentence
            reduction;

      (2)   he is not a danger to the safety of others or the
            community; and,

      (3)   any requested reduction is consistent with the policy
            statement.

      United States v. Gill, 2020 WL 2084810, *2 (E.D. Cal. Apr.

30, 2020).


      C.    Extraordinary And Compelling Reasons


      The Sentencing Commission’s Commentary Application Notes for

Guideline § 1B1.13 provides the definition of “extraordinary and

compelling reasons.”      The Court agrees with the majority of the

district courts in the Ninth Circuit that have concluded that


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Section 1B1.13 and its definition of “extraordinary and

compelling reasons” applies to motions for compassionate release

even though the sentencing guideline was not separately amended

following the passage of the First Step Act.           See Riley v. United

States, 2020 WL 1819838, *8 (W.D. Wash. Apr. 10, 2020)

(collecting cases); United States v. Shields, 2019 WL 2359231, *4

(N.D. Cal. June 4, 2019).

      Sentencing Guideline Section 1B1.13’s Commentary Application

Notes explain that extraordinary and compelling reasons exist

when:

      (A)   Medical Condition of the Defendant.–

            (i)   The defendant is suffering from a terminal illness
                  (i.e., a serious and advanced illness with an end
                  of life trajectory). A specific prognosis of life
                  expectancy (i.e., a probability of death within a
                  specific time period) is not required. Examples
                  include metastatic solid-tumor cancer, amyotrophic
                  lateral sclerosis (ALS), end-stage organ disease,
                  and advanced dementia.

            (ii) The defendant is—

                  (I)         suffering from a serious physical or
                              medical condition,

                  (II)        suffering from a serious functional or
                              cognitive impairment, or

                  (III)       experiencing deteriorating physical or
                              mental health because of the aging
                              process,

                  that substantially diminishes the ability of the
                  defendant to provide self-care within the
                  environment of a correctional facility and from
                  which he or she is not expected to recover.

      (B)   Age of the Defendant.–The defendant (i) is at least 65
            years old; (ii) is experiencing a serious deterioration

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            in physical or mental health because of the aging
            process; and (iii) has served at least 10 years or 75
            percent of his or her term of imprisonment, whichever
            is less.

      (C)   Family Circumstances.–
            (i) The death or incapacitation of the caregiver of
                 the defendant’s minor child or minor children.

            (ii) The incapacitation of the defendant’s spouse or
                 registered partner when the defendant would be the
                 only available caregiver for the spouse or
                 registered partner.

      (D)   Other Reasons.—As determined by the Director of the
            Bureau of Prisons, there exists in the defendant’s case
            an extraordinary and compelling reason other than, or
            in combination with, the reasons described in
            subdivisions (A) through (C).

      U.S.S.G. § 1B1.13 cmt. n.1.

      The Court has the discretion to determine whether other

extraordinary and compelling reasons exist, as stated in

paragraph (D), when ruling on motions for compassionate release.

United States v. Brooker,           F.3d     , 2020 WL 5739712, *7 (2d

Cir. Sept. 25, 2020); United States v. Hernandez, 2020 WL

3453839, at *4 (D. Haw. June 24, 2020).


                            PROCEDURAL HISTORY


      On December 15, 2010, the grand jury returned an Indictment,

charging Defendant Vernon Butler, and one co-defendant, as

follows:

      Count 1:    From a Date Unknown, but by at least June 1,
                  2010, and until on or about December 1, 2010,
                  Defendant Did Conspire to Distribute, and to
                  Possess with Intent to Distribute, 50 Grams
                  or More of Methamphetamine, in Violation of


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                  21 U.S.C. §§ 846, 841(a)(1);

      Count 2:    On or about November 26, 2010, Defendant
                  Aided and Abetted the Distribution of 50
                  Grams or More of Methamphetamine, in
                  Violation of 21 U.S.C. §§ 841(a)(1),
                  841(b)(1)(A), and 18 U.S.C. § 2; and,

      Count 3:    On or about December 1, 2010, Defendant Aided
                  and Abetted the Possession with Intent to
                  Distribute 50 Grams or More of
                  Methamphetamine in Violation of 21 U.S.C. §§
                  841(a)(1), 841(b)(1)(A), and 18 U.S.C. § 2.

      (Indictment, ECF No. 10).

      On August 3, 2011, the Government filed a sentencing

enhancement notice pursuant to 21 U.S.C. § 851, asserting

Defendant Butler was subject to a mandatory minimum sentence of

twenty years imprisonment due to a prior felony drug trafficking

conviction in California State Court.         (ECF No. 50).

      On December 14, 2011, Defendant pled guilty to all three

counts in the Indictment.       (ECF No. 62).     As part of the plea

agreement, the Government withdrew the sentencing enhancement

notice pursuant to 21 U.S.C. § 851.         (ECF No. 63).

      At sentencing, Defendant was in Criminal History Category II

and had a total offense level of 37 for a sentencing guideline

range of 235 to 293 months imprisonment.          (Presentence Report at

¶ 80, ECF No. 88).

      Defendant was sentenced to 200 months imprisonment.            (ECF

No. 86).

      On July 26, 2013, Defendant filed a Motion to Vacate, Set

Aside or Correct Sentence, pursuant to 28 U.S.C. § 2255. (ECF No.


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92).

       On February 13, 2014, the Court issued an Order Denying

Defendant’s Section 2255 Motion.          (ECF No. 102).    The Court

denied a certificate of appealability.          (Id.)

       Defendant appealed to the Ninth Circuit Court of Appeals,

and it denied his request for a certificate of appealability on

July 14, 2014.     (ECF No. 106).

       On August 13, 2015, the Court issued an ORDER REGARDING

MOTION FOR SENTENCE REDUCTION PURSUANT TO 18 U.S.C. § 3582(c)(2).

(ECF No. 111).     Pursuant to the change in the drug quantity

sentencing guidelines, Defendant’s sentence was reduced from 200

months to 188 months imprisonment.          (Id.)

       On August 15, 2016, Defendant filed a Notice of Appeal.

(ECF No. 115).

       On January 18, 2017, the Ninth Circuit Court of Appeals

dismissed the appeal as untimely.          (ECF No. 119).

       On February 9, 2017, the mandate was issued.          (ECF No. 121).

       Defendant filed a Motion to Recall the Mandate, and on March

28, 2017, the Ninth Circuit Court of Appeals denied his motion

finding there were no extraordinary circumstances to support such

relief.    (ECF No. 122).

       On August 14, 2020, Defendant filed a MOTION FOR REDUCTION

OF SENTENCE (COMPASSIONATE RELEASE).          (ECF No. 124).

       On August 31, 2020, the Government filed its Opposition.

(ECF No. 129).


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      On September 4, 2020, Defendant filed his Reply.           (ECF No.

130).

      The Court elects to decide the matter without a hearing

pursuant to District of Hawaii Local Rule 7.1(c).


                                  ANALYSIS


      Defendant Butler is 52 years old.        Defendant is currently

incarcerated at the Federal Correctional Institute Terminal

Island in California.      Defendant bears the burden to demonstrate

that extraordinary and compelling reasons exist that warrant

immediate release from incarceration.         United States v. Greenhut,

2020 WL 509385, *1 (C.D. Cal. Jan. 31, 2020).

      A defendant’s general concerns about potential exposure to

COVID-19 while incarcerated do not meet the criteria for

extraordinary and compelling reasons for a reduction in sentence.

United States v. Eberhart, 448 F.Supp.3d 1086, 1089-90 (N.D. Cal.

Mar. 25, 2020); United States v. Carver,            F.Supp.3d       , 2020

WL 1892340, *3 (E.D. Wash. Apr. 8, 2020).

      The Centers for Disease Control (“CDC”) has identified

certain categories of individuals that are at a higher risk for

severe illness due to COVID-19.        The list includes people with

conditions such as: chronic lung disease, moderate or serious

asthma, serious heart conditions, obesity, chronic kidney disease

requiring dialysis, liver disease, diabetes, or individuals who

are immunocompromised.       See United States v. Jones, Crim. No. 13-


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 00860 LEK-03, 2020 WL 2331678, *5 (D. Haw. May 11, 2020).


 I.    Medical Condition

       A.      Current Centers For Disease Control Standards And
               Defendant’s Medical Concerns


       Defendant is 52 years old.       He alleges that he suffers from

 Type 2 diabetes, hypertension, and obesity.

       The Centers for Disease Control (“CDC”) has explained that,

 as of October 19, 2020, people with certain underlying medical

 conditions are at increased risk for severe illness from COVID-

 19, including obesity and Type 2 diabetes mellitus. (CDC

 Coronavirus Disease 2019 (COVID-19) Website, available at

 http://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/p

 eople-with-medical-conditions.html?CDC AA refVal=https%3A%2F%2Fww

 w.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fgr

 oups-at-higher-risk.html, last visited 10/19/20).

       The CDC has also stated that individuals “might be at an

 increased risk” for severe illness from COVID-19 when suffering

 from conditions including hypertension.         (Id.)


       B.      Defendant Has Contracted And Recovered From COVID-19


       Defendant’s Bureau of Prisons (“BOP”) medical records

 reflect that Defendant tested positive for COVID-19 on April 25,

 2020.      (Def.’s BOP Medical Records, attached as Ex. A to Def.’s

 Motion, at pp. 99, 126, ECF No. 128).         Defendant was deemed



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 recovered from COVID-19 on May 10, 2020. (Id. at p. 99).

       Little is understood about the possibility of COVID-19 re-

 infection, however, the fact that Defendant has already

 contracted COVID-19 and recovered counsels against a finding of

 extraordinary and compelling circumstances to warrant granting

 immediate release.     United States v. Ofa, Crim. No. 17-00145 JMS-

 01, 2020 WL 4496497, *2-*3 (D. Haw. Aug. 4, 2020).           Numerous

 courts have concluded that the dangers associated with COVID-19

 are not a ground for relief for someone who already had the

 disease and recovered.      United States v. Molley, Crim. No. 15-

 0254 JCC, 2020 WL 3498482, *2 (W.D. Wash. June 29, 2020); United

 States v. Zubkov,         F.3d     , 2020 WL 2520696, *3 (S.D.N.Y. May

 18, 2020).


       C.    Medical Conclusion


       Defendant is 52 years old.       The CDC recognizes that the risk

 of developing severe illness from COVID-19 increases with age.

 Those 65 years of age or older are at increased risk and those 85

 years and older at the greatest risk.         (https://www.cdc

 .gov/coronavirus2019-ncov/need-extra-precautions/older-

 adults.html, last visited 10/19/20).         Defendant’s age does not

 place him in a category of increased risk of complications due to

 COVID-19.

       Defendant’s BOP medical records reflect that he tested

 positive for COVID-19 on April 25, 2020.         (Def.’s BOP Medical


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 Records at pp. 99, 126, ECF No. 128).         Defendant was screened for

 negative symptoms of the COVID-19 virus from April 29, 2020 to

 May 8, 2020.    (Id. at pp. 72-73, 99).       Defendant’s medical

 records state that he did not have a cough, muscle pain,

 shortness of breath, fatigue, sore throat, loss of taste or

 smell, chills, or any other negative symptoms.          (Id. at pp. 13,

 72-73).    On May 4, 2020, Defendant reported that he felt mild

 wheezing, and he was prescribed an Albuterol Inhaler to treat it.

 (Id. at p. 3).     Defendant did report mild wheezing, but by May

 10, 2020, the BOP deemed Defendant to be recovered from COVID-19.

 (Id. at p. 99).

       Defendant has not provided any medical records or other

 evidence after May 10, 2020.       (Id. at p. 2).     In Defendant’s

 Motion filed August 14, 2020, he reports that he has recovered

 from the virus.     (Def.’s Motion at p. 3, ECF No. 124).         While

 Defendant experienced some wheezing symptoms while diagnosed with

 COVID-19, he did not report any acute symptoms.           Rather,

 Defendant’s medical records reflect that he has been able to

 manage his medical conditions while he has been incarcerated,

 including while he contracted COVID-19.

       On May 10, 2020, Defendant was treated for a bacterial

 infection and prescribed antibiotics.         (Def.’s BOP Medical

 Records at p. 2, ECF No. 128).

       A review of Defendant’s BOP medical records reflects that he

 has received treatment for a number of temporary and chronic


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 conditions.    Defendant is prescribed Amlodipine, Lisinopril, and

 Hydrochlorothiazide for Hypertension; Allopurinol and

 Indomethacin for Gout; Meloxicam for arthritis in his hip;

 Omeprazole for acid reflux; and, Metformin for Type 2 Diabetes.

 (Id. at p. 17).

       On April 2, 2020, Defendant reported flu-like symptoms and

 was examined by Dr. Seyed Hosseini, M.D.         (Id. at p. 22).

 Defendant was tested for COVID-19 and the results were negative.

 (Id.)   Defendant was prescribed Allopurinol and Ciprofloxacin and

 recovered from the flu.      (Id. at p. 23).     Defendant also has a

 history of hip and ankle issues that cause pain and difficulty

 ambulating.    (Presentence Report at ¶ 66, ECF No. 88).

       Defendant alleges in his Motion that he is obese. (Def.’s

 Motion at p. 6, ECF No. 124).       Defendant’s BOP medical records do

 not provide a medical diagnosis, but rather they state that

 Defendant “appears obese.”       (Def.’s BOP Medical Records at p. 38,

 ECF No. 128).     Defendant’s BMI is not listed in his medical

 records.    Defendant is 5'11" and his weight as of March 27, 2020,

 was 260 pounds.     (Id. at p. 80).       Pursuant to the U.S. Department

 of Health & Human Services’ Body Mass Index Calculator,

 Defendant’s Body Mass Index as of March 27, 2020 was 36.3.             This

 factor alone is insufficient to support a claim for compassionate

 release.

       Defendant has not established extraordinary and compelling

 reasons for his immediate release based on his medical


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 conditions.    The record does not demonstrate that he is suffering

 any terminal or serious health conditions after his recovery from

 COVID-19 that would warrant his immediate release.           Defendant’s

 medical records reflect that he has received appropriate medical

 care for his various medical issues.         (Id. at pp. 49-60, 67-70,

 94-99).    Conditions that can be managed in prison are not a basis

 for compassionate release.       United States v. Kazanowski, Crim.

 No. 15-00459 DKW-05, 2020 WL 3578310, *9 (D. Haw. July 1, 2020)

 (citing U.S.S.G. § 1B1.13 cmt. n.1(A)).


 II.   Section 3553(a) Factors And Defendant’s History and
       Characteristics

       A.    History and Characteristics


       In order to be eligible for compassionate release, Defendant

 must establish release is appropriate pursuant to the factors set

 forth in 18 U.S.C. § 3553(a) and that he is not a danger to the

 safety of others or the community.        18 U.S.C. § 3582(c)(1)(A);

 U.S.S.G. § 1B1.13(2).

       The Section 3553(a) factors include the nature and

 circumstances of the offense, the history and characteristics of

 the defendant, and the need for the sentence imposed.

       The Presentence Report reflects that Defendant Butler

 oversaw and directed a drug trafficking conspiracy to distribute

 large quantities of high purity crystal methamphetamine in

 Hawaii.    (Presentence Report at ¶¶ 12-13, ECF No. 88).          Defendant



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 Butler obtained the methamphetamine directly from a source inside

 a Mexican drug cartel and distributed it in Hawaii through other

 people.    (Id. at ¶¶ 13, 22, 32).

       In June 2010, Defendant Butler flew his cousin Bertrand from

 California to Hawaii and trained Bertrand in how to distribute

 methamphetamine for Butler in Honolulu.         (Id. at ¶ 23).

 Defendant trained Bertrand in receiving drugs, collecting drug

 proceeds, and packaging and sending drug proceeds to various

 addresses in California.       (Id.)    Defendant introduced Bertrand to

 the people with whom he would be doing business.           (Id.)

 Defendant Butler also taught Bertrand how to utilize money orders

 to pay for monthly rent for a condo in Waikiki that was used for

 their drug trafficking organization.         (Id. at ¶ 22-24).

       Defendant Butler sent shipments containing crystal

 methamphetamine to Bertrand in Hawaii, and Bertrand sent

 envelopes of money to Defendant in California.          (Id. at ¶ 25).

       Bertrand purchased a loaded Ruger .38 special revolver with

 a defaced serial number to use for protection while delivering

 drugs and collecting drug proceeds.         (Id. at ¶ 26).

       The Presentence Report reflects that Defendant Butler also

 involved his brother in drug trafficking.         (Id. at ¶ 29).

       Defendant was 44 years old at the time of his sentencing and

 is currently 52 years old.       Defendant was in Criminal History

 Category II at the time of sentencing.         (Id. at ¶ 80).      Defendant

 was held responsible for distributing 1.16 kilograms of


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 methamphetamine.     (Id. at ¶ 40).

       Defendant received a 4-level increase in his sentencing

 guidelines because the Court found that he was an organizer or

 leader of a conspiracy that involved five or more participants.

 (Id. at ¶ 45).     The Court found that the evidence established

 that Defendant Butler exercised decision-making authority

 throughout the conspiracy and had a high degree of control over

 his co-conspirators, he was a recruiter and trainer, and he

 received all drug proceeds from his co-defendant’s distribution

 of drugs in Hawaii.      (Id.)

       Defendant’s Presentence Investigation Report reflects a long

 history of involvement with the criminal justice system and in

 drug trafficking.     In 1995, Defendant was convicted of Possession

 of Marijuana for Sale in California State Court.           (Id. at ¶ 55).

 Defendant was armed with a firearm at the time of his arrest.

 (Id.)   The record also reflects that Defendant was previously

 convicted of Robbery in California State Court in 1993.            (Id.)

       At sentencing for the conviction for which Defendant is

 currently incarcerated, Defendant’s sentencing guidelines were

 235 to 293 months.     (Id. at ¶ 80).     The Court granted a variance

 and Defendant was sentenced to 200 months imprisonment.

 Defendant’s sentence was subsequently lowered to 188 months based

 on a change in the drug quantities provided in the sentence

 guidelines.




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       B.    Portion Of Sentence Served


       A review of the caselaw demonstrates that the portion of the

 sentence already served by the defendant is a necessary factor

 for the Court to consider in evaluating compassionate release.

 United States v. Connell,          F.Supp.3d.       , 2020 WL 2315858, at

 *6 (N.D. Cal. May 8, 2020).       The amount of time served of the

 originally imposed sentence must be considered pursuant to

 Section 3553(a) to ensure that the amount of time adequately

 reflects the seriousness of the offense, deters criminal conduct,

 and protects the public.       United States v. Barber,          F.3d   ,

 2020 WL 2404679, *5 n.9 (D. Ore. May 12, 2020).

       Defendant received a 188-month sentence.         His projected

 release date is May 19, 2024.


       C.    Appropriateness of Immediate Release


       The Court finds that the nature and circumstances of

 Defendant’s offense weigh in favor of his 188-month sentence.

 Defendant was an organizer and leader of a large conspiracy to

 distribute highly pure methamphetamine from a source directly

 connected to a Mexican drug cartel.        Defendant’s conspiracy

 conviction is for a six-month period.         Defendant’s conspiracy

 involved close relatives.       Defendant trained and directed his

 family members in drug trafficking; arranged for a packages to be

 mailed to several residences, P.O. boxes, and commercial

 addresses; utilized a condo and a car for drug trafficking in

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 Hawaii; and Bertrand used a firearm to deliver drugs and collect

 proceeds on Defendant’s behalf.

        Defendant’s history and characteristics also do not favor a

 reduced sentence.     Defendant has a serious criminal history,

 including convictions for Robbery and distribution of drugs in

 California.    He poses a danger to the safety of others and the

 community.    Defendant received a downward variance from the

 recommended sentencing guidelines followed by a reduction in

 sentence for changes in the drug quantity guidelines.            Defendant

 has more than three years remaining on his sentence.             The factors

 in Section 3553(a) do not support the immediate release of the

 Defendant.


 III. Summary Of Medical Conclusion And Section 3553(a) Factors


        Defendant has not established a basis for compassionate

 release based on his medical issues.         The record does not

 demonstrate that he is suffering from a terminal health condition

 or a condition that substantially interferes his ability to

 provide self-care while incarcerated.         Defendant was diagnosed

 with COVID-19, and suffered minimal symptoms, and has been deemed

 to be fully recovered.      Defendant has been able to manage his

 various medical conditions while incarcerated, including while he

 contracted COVID-19.      The record demonstrates that Defendant has

 received and continues to receive appropriate medical care by the

 BOP.


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       Defendant poses a danger to the safety of others and the

 community.    Defendant has not established that his immediate

 release is warranted pursuant to the Section 3553(a) factors.


                                 CONCLUSION


       Defendant’s Emergency Motion To Reduce Sentence Under The

 First Step Act (ECF No. 124) is DENIED.

       IT IS SO ORDERED.

       Dated: October 19, 2020, Honolulu, Hawaii.




 United States v. Vernon Jarrett Butler, Crim. No. 10-00880 HG-01;
 ORDER DENYING DEFENDANT’S EMERGENCY MOTION TO REDUCE SENTENCE
 UNDER THE FIRST STEP ACT (ECF No. 124)
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